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 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div href="/vid/934164596" data-vids="934164596" class="ldml-header header ldml-header content__heading content__heading--depth1" data-content-heading-label="Header"&gt;
&lt;p class="ldml-metadata"&gt; 1 &lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;2021 CO 69&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;The People of the State of Colorado&lt;/span&gt;, &lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;b class="ldml-bold"&gt; v. &lt;/b&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Kerry Lee Cooper&lt;/span&gt;, &lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;No. 19SC249&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;, En Banc&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;October 25, 2021&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;
&lt;div class="ldml-casehistory"&gt;&lt;p data-paragraph-id="159" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="159" data-sentence-id="172" class="ldml-sentence"&gt;Certiorari to the &lt;span class="ldml-entity"&gt;Colorado Court of Appeals Court of Appeals&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_172"&gt;&lt;span class="ldml-cite"&gt;Case No. 2015CA576&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
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 &lt;span data-paragraph-id="252" data-sentence-id="265" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;b class="ldml-bold"&gt;PETITIONS FOR REHEARING&lt;/b&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="289" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="289" data-sentence-id="300" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Petition
 for Rehearing&lt;/span&gt; DENIED.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="332" class="ldml-paragraph no-indent mt-4"&gt;

 &lt;span class="ldml-opinionauthor content__heading content__heading--depth1" data-content-heading-label="Opinion (HOOD, GABRIEL, HART)"&gt;&lt;span data-paragraph-id="332" data-sentence-id="345" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;HOOD&lt;/span&gt;&lt;/span&gt;, JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;GABRIEL&lt;/span&gt;&lt;/span&gt;, and JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;HART&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; would grant
 the petition.&lt;/span&gt;
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